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     United States of America
 7

 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                      EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:11-cr-429 JAM

12
                                 Plaintiff,
                                                        STIPULATION AND ORDER TO CONTINUE
13
                           v.                           JUDGMENT AND SENTENCING
14
     JERRY KUWATA,
15

16                               Defendant.

17
                                                 STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, and defendant, by and
19
     through defendant’s counsel of record, hereby stipulate to continue the judgment and sentencing of Jerry
20
     Kuwata to December 3, 2013, in light of the impending trial set to proceed on October 16, 2013.
21
            IT IS SO STIPULATED.
22

23

24
     Dated: September 6, 2013                                BENJAMIN B. WAGNER
25                                                           United States Attorney

26
                                                             /s/ Michele Beckwith
27                                                           Michele Beckwith
                                                             Assistant United States Attorney
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 1   Dated: September 6, 2013                          /s/ Kresta N. Daly
                                                       Kresta N. Daly
 2                                                     Counsel for Defendant Jerry Kuwata

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 4

 5
                                                ORDER
 6
            IT IS SO ORDERED this 9th day of September, 2013
 7
                                                /s/ John A. Mendez
 8                                              THE HONORABLE JOHN A. MENDEZ
                                                UNITED STATES DISTRICT COURT JUDGE
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